Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 1of12

Exhibit B

RLF1 10808511v.1
Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 2 of 12

~IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., ef al.,' Case No. 14-10979 (CSS)

Debtors, (Jointly Administered)

Ne ee ee ee ee el Ne”

STIPULATION AND AGREED ORDER
REGARDING A PROTOCOL FOR CERTAIN CASE MATTERS

The above-captioned debtors and debtors in possession (collectively, the “Debtors”,
certain of the Debtors’ creditors and other constituents as specified in the signature pages of this

stipulation and agreed order (this “Stipulation and Order”) hereby enter into this Stipulation and

Order, and stipulate and agree as follows.
Recitals

WHEREAS, the Debtors filed applications to retain (the “Retention Applications”) the

following professionals in their chapter 11 cases: Filsinger Energy Partners [D.1. 650]; Evercore
Group L.L.C. [D.I. 651]; KPMG LLP [D.L 652]; Thompson & Knight LLP [D.1. 653];
PricewaterhouseCoopers LLP [D.I. 654]; Ernst & Young LLP [D.I. 655]; Deloitte & Touche
LLP [D.1. 656]; Richards, Layton & Finger, P.A. [D.I, 659]; Kirkland & Ellis LLP [D.I. 660};
Alvarez & Marsal North America, LLC [D.I. 661]; Gibson, Dunn & Crutcher LLP [D.I. 662];
Epiq Bankruptcy Solutions, LLC [D.L. 663]; McDermott Will & Emery LLP [D.I. 664]; and

Sidley Austin LLP [D.I. 665] (collectively, the “Retained Professionals”);

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the

debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201, Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a cornplete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information
may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

RLFIL 10760582v.1

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 3 of 12

WHEREAS, on July 23, 2014, the Debtors filed a motion to extend their exclusive
periods to file and solicit votes on a plan of reorganization [D.l 1683] (the “Exclusivity
Motion”);

WHEREAS, the parties to this Stipulation and Order (the “Parties”) engaged in
negotiations in connection with the relief requested in certain of the Retention Applications and
the Exclusivity Motion;

WHEREAS, the Parties have agreed to the terms of this Stipulation and Order to resolve
any potential objections to the Exclusivity Motion and Retention Applications;

NOW, THEREFORE, it is hereby stipulated and agreed to by and among the Parties and
upon Bankruptcy Court approval hereof, it shall be ordered as follows:

1. This Stipulation and Order is intended to bind and inure to the benefit of the
Parties, as well as the undersigned counsel and any group presently or later identified in a
statement filed under Bankruptcy Rule 2019 as being represented by the undersigned
counsel. The rights or obligations of the Parties under this Stipulation and Order may not be
assigned, delegated, or transferred to any other person or entity.

2. The Debtors will provide the Ad Hoc TCEH Noteholder Group (the “TCEH

Noteholder Group”), the Official Committee of Unsecured Creditors (the “Committee”), and

Wilmington Savings Fund Society FSB (“WSFS,” and, together with the TCEH Noteholder

Group and the Committee, the “TCEH Creditor Representatives”) with reasonable (but no less

than 10 days’) notice when they intend to file with the Bankruptcy Court an initial plan of
reorganization or any other pleading, motion, or notice (together with a copy of the draft of such
initial plan, pleading, motion, or notice) that seeks to settle, resolve, modify, or otherwise treat

material potential claims or causes of action of EFCH and/or any of its direct or indirect

RLF! 10760582v.1

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 4 of 12

subsidiaries (collectively, the “ITCEH Debtors”), including, but not limited to, inter-debtor issues,
rights, claims, or defenses (the “Notice Matters”); and (b) any subsequent plan, pleading, motion,
or notice that materially modifies the initial treatment of any Notice Matter (together with a draft
of such subsequent plan, pleading, motion, or notice), unless such subsequent plan, pleading,
motion, or notice is filed on or after the date that is 14 days prior to the commencement of a
hearing on confirmation of a plan, in which case, the Debtors shall provide as much notice as is
reasonably practicable,

3. The Debtors will meet with the TCEH Creditor Representatives in person or
telephonically at a mutually convenient time no less than once every two weeks, or as otherwise
reasonably practicable for the parties, to update the TCEH Creditor Representatives on the
chapter 11 cases, including, but not limited, with respect to the Notice Matters,

4, The independent directors of each of EFIH, EFCH and TCEH, and EFH,

respectively (each, an “Independent Director”), are authorized to seek to retain separate advisors

of his or her choosing (each, an “Independent Advisor”) to advise or otherwise represent the

applicable Debtor (a) if he or she determines it is necessary or prudent to do so with respect to
any Notice Matter, (b) where he or she, or the Court on motion by any of the TCEH Creditor
Representatives determines that a potential conflict has become an actual conflict under
applicable law, or (c) if the Court, on its own accord, otherwise determines that the retention of

Independent Advisors is appropriate (collectively, the “Independent Matters”); provided,

however, that unless otherwise determined by such Independent Director or the Court on motion
by any TCEH Creditor Representative, the applicable Retained Professional may also continue to
advise or represent such Debtor regarding the Independent Matters, including, but not limited to,

in connection with respect to with any settlement of Independent Matters; provided further,

RLF 10760582y. 1

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 5 of 12

however, that the Retained Professionals may not represent a Debtor in litigation directly adverse
to another Debtor. The Independent Directors of EFCH and TCEH shall consult with the TCEH
Creditor Representatives regarding the selection of Independent Advisors.

5, The entry of this Stipulation and Order is without prejudice to the rights,
objections, claims, defenses, and remedies any party may have with respect to the impact alleged
conflicts of interest may have on any action or inaction of any or all of the Debtors, including,
but not limited to, to seek a determination that such action or inaction is not entitled to the
protection of the business judgment rule and is instead subject to review under the entire fairness
standard. Notwithstanding anything to the contrary herein, the TCEH Creditor Representatives
hereby waive any potential objection(s) to the Debtors’ proposed retention of professionals on
any grounds, including, but not limited to, alleged conflicts, and hereby waive any potential
arguments alleging conflicts in the context of the Debtors’ professionals’ applications for
payment of fees and expenses; provided, however, that all parties’ rights are reserved with
respect to potential disqualification of retained professionals for actions taken after the date
hereof.

6. The Debtors and K&E will facilitate the TCEH Creditors Representatives’
diligence of the rights and potential claims, causes of action, and defenses of the TCEH Debtors
against or with respect to other Debtors (including, but not limited to, with respect to tax matters
and the allocation of administrative costs and overhead), insiders, the sponsors, and third parties.

7. Ifa TCEH Creditor Representative files a motion requesting standing to prosecute

material claims or causes of action of the TCEH Debtors (a “Standing Motion”), the Debtors

agree not to obtain court approval to settle, resolve, modify, or otherwise treat such material

claims or causes of action until the Standing Motion has been decided by the Court or otherwise

RLFI 10760382y.1

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 6 of 12

resolved; provided, however, that the Debtors reserve all rights with respect to such Standing
Motion, including, but not limited to, the ability to object to such Standing Motion or to file a
plan of reorganization or any other pleading, motion, or notice that seeks to settle, resolve,
modify, or otherwise treat material claims or causes of action,

8. Each TCEH Creditor Representative must (a) disclose in writing to the Debtors
any material claims and causes of action for which it intends to request standing in a Standing
Motion by January 31, 2015, and (b) file its respective Standing Motion by the later of
(i) February 28, 2015, (ii) fifteen days after approval of a disclosure statement, and (iii) such
later date as mutually agreed to by the Debtors and the applicable TCEH Creditor
Representative; provided, however, that the TCEH Creditor Representatives reserve the right to
seek one or more orders extending such deadlines for cause shown, including the failure of the
Debtor or K&E to fulfill their obligations under paragraph (6) above or the 2004 Discovery
Protocol. To the extent that it fails to disclose or seek standing to assert a particular claim or
cause of action by the applicable deadline (as it may be extended pursuant to the prior sentence),
each TCEH Creditor Representative is deemed to have waived any right to seek standing to

assert that claim or cause of action:; provided further, however, that nothing herein shall amend,

d in, and as

modify or supersede the deadlines and p

set forth in, Paragraph 15 of the Final Order (A) Authorizing Use of Cash Coligteral for Texas

Competitive Electric Holdings Company LLC and Certain of its Debtor Affiliates, (B) Granting

9. The TCEH Noteholder Group and the Committee each agree not to seek, or
support any other another party in seeking, either directly or indirectly, an examiner or trustee for

any acts or omissions of the Debtors that occurred prior to the entry of this order; provided,

RLFI 107605823

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 7 of 12

however, that this paragraph shall not restrict the ability of the Committee to take any action to
the extent the Committee determines, based upon the advice of counsel, that such action is
required by the Committee’s fiduciary duties.

10. The TCEH Creditor Representatives agree to support the Debtors’ request to
extend their exclusive periods to file and solicit acceptance of a plan of reorganization through
February 23, 2015, and April 25, 2015, respectively.

ll. This Stipulation and Order does not restrict or expand the rights of any party
regarding the role of management or any director of the Debtors.

12, ‘The provisions of this Stipulation and Order constitute an order of this Court and
violations of the provisions of this Stipulation and Order are subject to enforcement and the
imposition of legal sanctions in the same manner as any other order of the Court.

[Signatures follow.]

RLF1 10760582v. 1

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 8 of 12

Stipulated and agreed by:

ENERGY FUTURE HOLDINGS, CORP., ET AL. DEBTORS AND DEBTORS-IN-
POSSESSION

| By:  /s/ William A. Romanowicz oo
RICHARDS, LAYTON & FINGER, P.A.
Mark D. Collins (No. 2981)
Daniel J. DeFranceschi (No. 2732)
Jason M. Madron (No. 4431)
William A. Romanowicz (No. 5794)
920 North King Street
Wilmington, Delaware 19801
Telephone: (302) 651-7700
Facsimile: (302) 651-7701

Email: collins@rlf.com
defranceschi@rlf.com
madron@rif.com

-and-

KIRKLAND & ELLIS, LLP

Richard M. Cieri (admitted pro hac vice)

Edward 0. Sassower, P.C. (admitted pro hac vice)

Stephen E. Hessler (admitted pro hac vice)

Brian E, Schartz (admitted pro hac vice)

601 Lexington Avenue

New York, New York 10022-461 |

Telephone: (212) 446-4800

Facsimile: (212) 446-4900

Email: richard.cieri@kirkland.com
edward. sassower@kirkland.com
stephen. hessler@kirkland.com
brian.schartz@kirkland.com

-and-

James H.M. Sprayregen, P.C. (admitted pre hac vice)
Chad J. Husnick (admitted pro hac vice)
Steven N. Serajeddini (admitted pro hac vice)
300 North LaSalle
Chicago, IHinois 60654
Telephone: (312) 862-2000
Facsimile: (312} 862-2200
Email: james.sprayregen@kirkland,com
chad. husnick@kirkland,com
steven serajeddini@kirkland.com

Proposed Co-Counsel to the Debtors and Debtors in Possession

RLF1 107605821

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 9 of 12

THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF ENERGY FUTURE
HOLDINGS, CORP., ET AL., DEBTORS AND DEBTORS-IN-POSSESSION

By:  4s/ Lorenzo Marinuzzi

POLSINELLI PC

Christopher A. Ward (No. 3877)

Justin K. Edelson (No. 5002)

Shanti M. Katona (No. 5352)

22? Delaware Avenue, Suite 1101

Wilmington, Delaware 19801

Telephone: (302) 252-0920

Facsimile: (302) 252-0921

Email: cward@polsinelli.com
jedelson@polsinelli.com
skatona@polsinelli.com

-and-

MORRISON & FOERSTER LLP
Lorenzo Marinuzzi (admitted pro hac vice)
Brett H. Miller (admitted pro hac vice)
James M. Peck (admitted pro hac vice)
‘Todd M, Goren (admitted pro hac vice)
250 West 55th Street
New York, New York 10019
Telephone: (212) 468-8000
Facsimile: (212) 468-7900
Email: Imarinuzzi@mofo.com
bmiller@mofo.com
jpeck@mofo.com
tgoren@mofo.com

Proposed Co-Counsel to the Official Committee of Unsecured Creditors

RLFt 16760582y.1

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 10 of 12

WILMINGTON SAVINGS FUND SOCIETY, FSB, IN ITS CAPACITY AS SUCCESSOR
INDENTURE TRUSTEE

| By:  // evemy-B-Cofferlefirey L. Jonas
ASHBY & GEDDES, P.A.
William P. Bowdil (No. 2553)
Gregory A. Taylor (No. 4008)

500 Delaware A venue

P.O. Box 1150

Wilmington, Delaware 19899
Telephone: (302) 654-1888
Facsimile: (302) 654-2067

-and-

BROWN RUDNICK LLP

EdwardS. Weisfelner (admitted pro hac vice)
Aaron B. Lauchheimer (admitted pro hac vice)
Seven Times Square

New York, New York 10036

Telephone: (212) 209-4800

Facsimile: (212) 209-4801

-and-

Jeffrey L. Jonas (admitted pro hac vice)
Jeremy B. Coffey (admitted pro hac vice)
One Financial Center

Boston, Massachusetts 02111

Telephone: (617) 856-8200
Facsimile: (617) 856-8201

Counsel to Wilmington Savings Fund Society, FSB, solely in its capacity as successor
Indenture Trustee

RLFI 10760582v.1

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 11of12

THE AD HOC GROUP OF TCEH UNSECURED NOTEHOLDERS

| By: 4/J. Christopher Shore cry

FOX ROTHSCHILD LLP

Jeffrey M. Schlerf (No. 3047)

John H. Strock (No. 4965)

L. John Bird (No. 5310)

919 North Market St., Suite 300

Wilmington, DE 19801

Telephone: (302) 654-7444

Facsimile: (302) 463-4971

Email: jschlerf@foxrothschild.com
jstrock@foxrothschild.com
Ibird@foxrothschild.com

-and-

WHITE & CASE LLP

J. Christopher Shore (admitted pro hac vice)

Gregory M. Starner (admitted pro hac vice)

1155 Avenue of the Americas

New York, NY 10036

Telephone: (212) 819-8200

Facsimile: (212) 354-8113

Email: cshore@whitecase.com
gstarner@whitecase.com

Thomas E, Lauria (admitted pro hac vice)

Matthew C. Brown (admitted pro hac vice)

Southeast Financial Center, Suite 4900

200 South Biscayne Blvd.

Miami, FL 33131

Telephone: (305) 371-2700

Facsimile: (305) 358-5744

Email: tlauria@whitecase.com
mbrown@whitecase.com

Counsel to the Ad Hoc Group of TCEH Unsecured Noteholders

RLF1 10760582y.1

Case 14-10979-CSS Doc 2006-2 Filed 09/12/14 Page 12 of 12

Dated: , 2014 SO ORDERED:

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge

RLF1 10760582v.4

